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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

X
DOUGLAS J. HORN and CINDY HARP-HORN,
Civ Action No: 15-cv-701 FPG/MJR
Plaintiff,
AFFIDAVIT
-against- PLAINTIFF’S EXPERT
DR. KENNETH GRAHAM
MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,
Defendants,
X
STATE OF PENNSYLVANIA
COUNTY OF MONTGOMERY

BEFORE ME, the undersigned authority, personally appeared Kenneth D.
Graham, Ph. D. who, after first being duly sworn, deposes and says:

1. My name is Kenneth D. Graham, Ph. D. I am a Forensic Toxicologist
with over 25 years of experience in the field. My qualifications to render opinions in
the field of forensic toxicology, pharmacology and labeling are fully set forth in my
curriculum vitae, which is attached hereto as “Exhibit I’ and incorporated herein by
reference. I have personal knowledge of all matters contained in this affidavit.

2. I was retained on behalf of the Plaintiffs to evaluate the evidence and
testimony involving the tetrahydrocannabinol (THC) content of Dixie X Elixir
Tincture product taken by Plaintiff, and, specifically, the implications of using this
product on a urine drug screen and whether the product complies with federal statutes

for controlled substances.

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3.

materials:

In preparation for rendering my opinions, I reviewed the following case

Statement of James Horn to Elizabeth Horn dated November 23, 2012.

. Advertisement for Dixie X that appeared in the Fall 2012 Issue of High

Times magazine.
Laboratory Litigation Package from Clinical Reference Laboratory related

to a drug test analysis for specimen ID#2013672889 in October 2012.

. Press release issued by Dixie Botanicals regarding product quality and

efficacy clarification and dated November 26, 2013.

Email communications between James Horn and Scott Van Etten (EMSL
Analytical, Inc.) dated November 8 and November 26, 2012.

Laboratory data and report for product testing order #281201415 issued by

EMSL Analytical, Inc. on November 5, 2012.

. FAQ webpage from Dixiex.com pulled on October 11, 2012.

. Civil Complaint filed with the U.S. District Court, Western District of New

York and dated August 5, 2015.

Follow-up SAP evaluation report prepared by Kenneth Dennis, Ph.D. on
July 24, 2013.

Facebook post of Tamara Wise from November 20, 2013 and expose of
Medical Marijuana, Inc. CBD products appearing on beyondTHC.com

website.

. Partial deposition transcript of James Horn dated May 8, 2017

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1. CannLabs Certificate of Analysis for CBD 500 Dew Drop (or
CBD0803MIXE2), Test ID: DEDI10.12.12-2 (PDF Files:
02475533xA984D; 02475534xA984D; 02475536xA984D).

m. CannLabs Certificate of Analysis: for CBD1011R&D-500 mg, Test ID:
DED10.12.12-5 (PDF File: 02475535xA9B4D).

n. Report of Cindy S. Orser, Ph.D. dated September 29, 2017.

4, Appended as “Exhibit IT” is my initial Report of August 29,2017 supporting
my conclusions below.

5. Appended as “Exhibit IIT’ is my October 30, 2017 Supplemental Report and
Rebuttal to the defense’s Botanical expert Dr. Cindy Orser.

6. Following my review of the aforementioned materials, I have concluded the
following:

a. Defendants did not provide plaintiff, nor defendant’s expert, process batch
records, testing records or certificates of analyses pertaining to the actual
product purchased and used by plaintiff. Failure to provide these documents
suggests that either these records no longer exist or the formulation and
product analyses were not conducted despite defendants advertising and
statements that their products are rigorously tested multiple times during the
manufacturing process using both traditional ISO017025 chemical testing
facilities, as well as cannabinoid testing facilities, to ensure their products
meet the highest standards.

b. The presence of at least 170 g/g (170 ppm) of tetrahydrocannabinol
(THC) measured by EMSL Analytical, Inc. (test date of November 5,

2012), in a Dixie X Elixir product containing a label quantity of 100 mg

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cannabidiol (CBD) significantly exceeded by 3.4-fold the 50 ppm THC
concentration in hemp products used in experimental studies that
demonstrated the ability of such products to produce a positive THC drug
screen result.

c. The results provided in certificates of analysis (CoA) prepared by
CannLabs, Inc. (test date of October 16, 2012), for a labeled 500 mg Dixie
X Dew Drop product contended to represent the similar product originally
purchased and consumed by plaintiff indicates the product contained 500
g/g (500 ppm) THC, which significantly exceeded by 10-fold the 50 ppm
THC concentration in hemp products used in experimental studies that
demonstrated the ability of such products to produce a positive THC drug
screen result.

d. The use of Dixie X Elixir products also had the potential to yield
additional THC exposure to consumers by conversion of CBD, the major
ingredient in Dixie X Elixir, to THC in the acidic environment of the
stomach as demonstrated by Watanabe and Itokawa, ef al., in Forensic
Toxicology, 2007;25:16-21 and Merrick and Lane, ef al., in Cannabis and
Cannabinoid Research, April 2016;1:102-112.

e. Based on the independent laboratory analysis requested by the plaintiff
and the certificate of analysis records provided by defendants, Dixie X
Elixir and similar Dixie products contained a measurable amount of THC.
The Dixie X Elixir product was asserted to have “0%” THC and public
statements by Dixie Elixirs and Edibles’ managing director proclaimed the

product “contains no THC”. Defendant’s content claims were contradicted

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by the measurable presence of THC in the products and ostensibly
represent false advertisement that would be unlawful under 15 U.S.C. §52.
Based on these false claims, the plaintiff had his wife purchase the product
believing that he could benefit from the wellness potential of the Dixie X
Elixir derived from natural hemp without concern of it producing a
positive THC drug test result under DOT drug testing guidelines that were
applicable to his employment.

f. Since there was no evidence that indicated plaintiff had a history of either
recreational or medicinal marijuana use, plaintiff's exposure to THC from
his daily use of Dixie X Elixir for eight days preceding his DOT urine
sample collection on October 9, 2012 was the direct cause of his positive
THC drug test result that subsequently led to his loss of employment.

g. Dixie X Elixir was launched in early 2012 and was promoted as an
imported industrial hemp-derived wellness product and CBD-rich
medicine that contained either 100 mg or 500 mg of CBD and “0%” THC,
suggesting that the product was free of tetrahydrocannabinol (THC), the
most psychoactive constituent contributing to the behavioral effects and
toxicity of cannabis. Industrial hemp strains are cultivated to increase the
concentration of cannabidiol (CBD) and lower the concentration of THC
content. Unlike THC, CBD is not psychoactive. In 2012, Federal law in
the U.S. prohibited commercial farming of any variety of Cannabis sativa,
but allowed for the importation and industrial use of hemp material if it
maintained a THC content of less than 0.3% by weight. The 0.3% limit

does not apply to final product formulations in which the presence of any

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amount of THC would render it a Schedule 1 controlled substance as
described under 21 U.S.C. §1308.11. Neither the defendants nor the
defendant’s expert provided a statute citation or other reference to support
their contention that the Dixie Elixir products complied with Federal and
state laws since the THC content in these products was below 0.3%.
Despite a definition in many states of “CBD-only” products as having less
than 0.3% or 0.5% THC, any product containing THC in any amount is
considered marijuana and a Schedule I controlled drug substance under
Federal law (21 U.S.C. §1308.11). Although Dixie X Elixir and similar
Dixie products were derived from cannabis plant material (industrial
hemp) that contained tetrahydrocannabinols, the products would not be
eligible for an exemption to a Schedule I classification under 21 U.S.C.
§1308.35 since the Dixie products were formulated, marketed and
distributed for human consumption.

h. Despite recent decriminalization and compassionate medical use laws in
some states, marijuana is not a benign drug and remains a Schedule I
controlled substance under Federal law.

i. Since 170 pg/g (170 ppm) THC was measured by EMSL Analytical, Inc.
in a Dixie X Elixir containing a labeled 100 mg CBD and 500 g/g (500
ppm) THC was measured by CannLabs, Inc. in a Dixie X Dew Drop
containing a labeled 500 mg CBD, these products and presumably similar
representative Dixie products with differing lot numbers would be

classified as Schedule 1 controlled substances under 21 U.S.C. §1308.11.

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j. Dixie Elixir company website content and public statements issued by the
managing director of Dixie Elixirs and Edibles denote that Dixie X Elixirs
are tested multiple times during the manufacturing process using both
ISO17025 compliant testing facilities as well as cannabinoid testing
facilities. If the product was tested for cannabinoid content during the
manufacturing process as claimed, then the results would have shown that
Dixie X Elixir contained a measurable quantity of THC which would then
classify the product as a DEA Schedule 1 substance under 21 U.S.C.
§1308.35. Manufacturing process test results showing the presence of
THC in the Dixie X formulation would signify that the advertising and
public statements asserting the product contained no THC were false and
may be unlawful under 15 U.S.C §52. Alternatively, if the formulation
was not tested for cannabinoid content contrary to Dixie claims, the
defendants would lack the knowledge to contend that their product
contained no THC.

k. As neither the defendants nor the plaintiff were registered with the US
Drug Enforcement Administration, the distribution of a Schedule I
substance, such as Dixie X Elixir, across state lines would be apparently
unlawful under 21 U.S.C §801-971 and, if the product was shipped
through the domestic mail system, the distribution would also seemingly
be unlawful under 18 U.S.C. §1716. In addition, the defendants
manufactured and distributed a controlled substance in violation of 21

U.S.C. §841.

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I. Asa Schedule I controlled drug substance under 21 U.S.C. §1308.35,
Dixie X Elixir was subject to specific packaging and labelling
requirements under 21 U.S.C. §1302.03. Consequently, each commercial
container of a controlled substance must contain a label providing
definitive information of product contents and bearing the symbol
designating the schedule on which the controlled substance is listed. The
product label of the Dixie X Elixir used by the plaintiff did not list THC as
an ingredient and did not bear a symbol reflecting that it was a Schedule I
controlled substance and, therefore, violated packaging and labeling
requirements under 21 U.S.C. §1302.03. Without the required label
content, the plaintiff would not have been able to make an informed
decision about whether to use the Dixie X Elixir product.

m. Since the manufacture and distribution of Dixie X Elixir appears to be unlawful
under multiple Federal statutes, the advertising and public statement claims that
the Dixie X Elixirs do not conflict with any Federal law and that the parent
company, Medical Marijuana, Inc. does not grow, sell or distribute any substances
that violate United States Law or the controlled substances act are false and appear

to violate 15 U.S.C §52 covering the dissemination of false advertisement.

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Dated: August 4d 7. 2018

KENNETH D. GRAHAM, Ph.D., R.Ph.

Subscribed and Sworn to before me this
Aq day of August, 2018.

otary Public

| Commonweatth of Pennsylvania - Notary Seal
Linda Connor, Notary Public
Mentgomery County
My Commission Expires October 27, 2021
Commission number 1219910

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